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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 NATIONAL STUDENT LEGAL DEFENSE
 NETWORK,
                Plaintiff,                          Civil Action No. 21-1923 (BAH)

                                                    Judge Beryl A. Howell
                        v.


 UNITED STATES DEPARTMENT OF
 EDUCATION,

                        Defendant.




                                            ORDER

         Upon consideration of defendant U.S. Department of Education’s Motion for Summary

Judgment, ECF No. 19, and plaintiff National Student Legal Defense Network’s Cross-Motion for

Summary Judgment, ECF No. 23, the related legal memoranda in support and in opposition, the

exhibits and declarations attached thereto, in camera review of the disputed withheld records, and

the entire record herein, for the reasons set forth in the accompanying Memorandum Opinion, it is

hereby

         ORDERED that defendant’s Motion for Summary Judgment, ECF No. 19, is GRANTED;

it is further

         ORDERED that plaintiff’s Cross-Motion for Summary Judgment, ECF No. 23, is

DENIED; and it is further

         ORDERED that the Clerk of the Court is directed to close this case




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SO ORDERED.

Date: July 11, 2023

This is a final and appealable order.
                                            __________________________
                                            BERYL A. HOWELL
                                            U.S. District Court Judge




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